Case 1:18-cv-00477-LEK-RT Document 76 Filed 05/29/19 Page 1 of 4   PageID #: 972




 HOSODA & BONNER, LLLC

 LYLE S. HOSODA                 3964-0
 ADDISON D. BONNER              9163-0
 Three Waterfront Plaza, Suite 499
 500 Ala Moana Boulevard
 Honolulu, Hawaii 96813
 Telephone:        (808) 524-3700
 Facsimile:        (808) 524-3838
 Email:            lsh@hosodalaw.com
                   adb@hosodalaw.com

 Attorneys for Defendant
 OAHU INTERSCHOLASTIC ASSOCIATION

                  IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

 A.B., by her parents and next friends,    Civil No. 18CV-00477 LEK-RT
 C.B. and D.B., and T.T., by her parents
 and next friends, K.T. and S.T.,          DEFENDANT OAHU
                                           INTERSCHOLASTIC
             Plaintiffs,                   ASSOCIATION’S STATEMENT OF
                                           NO POSITION AS TO PLAINTIFFS’
       vs.                                 MOTION FOR LEAVE TO FILE
                                           FIRST AMENDED COMPLAINT,
 HAWAII STATE DEPARTMENT OF                FILED ON MAY 16, 2019;
 EDUCATION AND OAHU                        CERTIFICATE OF SERVICE
 INTERSCHOLASTIC
 ASSOCIATION,                              HEARING:
                                           Date:    June 19, 2019
             Defendants.                   Times:   9:00 a.m.
                                           Judge:   Honorable Rom Trader

                                           [ECF NO. 69]
Case 1:18-cv-00477-LEK-RT Document 76 Filed 05/29/19 Page 2 of 4       PageID #: 973




      DEFENDANT OAHU INTERSCHOLASTIC ASSOCIATION’S
   STATEMENT OF NO POSITION AS TO PLAINTIFFS’ MOTION FOR
         LEAVE TO FILE FIRST AMENDED COMPLAINT,
                   FILED ON MAY 16, 2019

             Defendant OAHU INTERSCHOLASTIC ASSOCIATION, by and

 through its attorneys, Hosoda & Bonner, LLLC, hereby submits its Statement of

 No Position as to Plaintiffs’ Motion for Leave to File First Amended Complaint,

 filed herein on May 16, 2019 (ECF No. 69).

             DATED:       Honolulu, Hawaii, May 29, 2019.

                                      /s/ Lyle S. Hosoda
                                      LYLE S. HOSODA
                                      ADDISON D. BONNER

                                      Attorneys for Defendant
                                      OAHU INTERSCHOLASTIC
                                      ASSOCIATION




                                         2
Case 1:18-cv-00477-LEK-RT Document 76 Filed 05/29/19 Page 3 of 4        PageID #: 974




                  IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

 A.B., by her parents and next friends,    Civil No. 18CV-00477 LEK-RT
 C.B. and D.B., and T.T., by her parents
 and next friends, K.T. and S.T.,          CERTIFICATE OF SERVICE

             Plaintiffs,

       vs.

 HAWAII STATE DEPARTMENT OF
 EDUCATION AND OAHU
 INTERSCHOLASTIC
 ASSOCIATION,

             Defendants.


                            CERTIFICATE OF SERVICE

             The undersigned hereby certifies that on the date noted below, a true

 and correct copy of the foregoing document was duly served electronically through

 CM/ECF on the following parties:

             MATEO CABALLERO, ESQ.             (mcaballero@acluhawaii.org)
             JONGWOOK “WOOKIE” KIM, ESQ.             (wkim@acluhawaii.org)
             ACLU of Hawaii Foundation
             P.O. Box 3410
             Honolulu, Hawaii 96801
             -and-
             ELIZABETH KRISTEN, ESQ.          (ekristen@legalaidatwork.org)
             J. CACILIA KIM, ESQ.                 (ckim@legalaidatwork.org)
             KIM TURNER, ESQ.                  (kturner@legalaidatwork.org)
             Legal Aid at Work
             180 Montgomery Street, Suite 600
             San Francisco, California 94104
Case 1:18-cv-00477-LEK-RT Document 76 Filed 05/29/19 Page 4 of 4         PageID #: 975




             -and-
             JAYMA M. MEYER, ESQ.                        (jmeyer@stblaw.com)
             Simpson Thacher & Bartlett LLP
             425 Lexington Avenue
             New York, New York 10017
             -and-
             HARRISON J. FRAHN IV, ESQ.                   (hfrahn@stblaw.com)
             Simpson Thacher & Bartlett LLP
             2475 Hanover Street
             Palo Alto, California 94304

             Attorneys for Plaintiffs
             A.B., by her parents and next friends, C.B. and D.B., and
             T.T., by her parents and next friends, K.T. and S.T.

             JOHN M. CREGOR, ESQ.                  (john.m.cregor@hawaii.gov)
             CARTER K. SIU, ESQ.                      (carter.k.siu@hawaii.gov)
             Office of the Attorney General
             Civil Rights Litigation
             425 Queen Street
             Honolulu, Hawaii 96813

             Attorneys for Defendant
             HAWAII STATE DEPARTMENT OF EDUCATION

             DATED:      Honolulu, Hawaii, May 29, 2019.

                                      /s/ Lyle S. Hosoda
                                      LYLE S. HOSODA
                                      ADDISON D. BONNER

                                      Attorneys for Defendant
                                      OAHU INTERSCHOLASTIC
                                      ASSOCIATION




                                         2
